Case 19-11580-JDW        Doc 4    Filed 04/11/19 Entered 04/11/19 19:02:39             Desc Main
                                  Document      Page 1 of 1




                                               Certificate Number: 13858-MSN-CC-032503730


                                                              13858-MSN-CC-032503730




                    CERTIFICATE OF COUNSELING

I CERTIFY that on March 26, 2019, at 12:29 o'clock PM CDT, Felicia Phillips
received from MoneySharp Credit Counseling Inc., an agency approved pursuant
to 11 U.S.C. § 111 to provide credit counseling in the Northern District of
Mississippi, an individual [or group] briefing that complied with the provisions of
11 U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   March 26, 2019                         By:      /s/Iraida Rios


                                               Name: Iraida Rios


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
